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INVOICE	  #	   4885




In	  re	  Oil	  Spill	  by	  the	  Oil	  Rig	  "Deepwater	  Horizon"	                       Bill	  To:
for	  the	  Halliburton	  and	  Transocean	  Settlements

Job:             2994                                                                                 Plaintiffs’	  Steering	  Committee
Invoice	  Date: 2/29/2016                                                                            820	  O'Keefe	  Ave
Due:             Upon	  receipt                                                                      New	  Orleans,	  LA	  70113




Other	  Costs
                                                                                    Hours	  Worked       Hourly	  Rate             Total

Elaine	  Pang:	  Media	  Supervisor                                                    7                  $250.00               $1,750.00
Katherine	  Kinsella:	  Founder                                                       5.75                 $550.00               $3,162.50
Sali	  Hama:	  Senior	  Notice	  Program	  Manager                                 28.25                $200.00               $5,650.00
Shannon	  Wheatman:	  President                                                       68.75                $500.00               $34,375.00

Expert	  Services:	  Flat	  Fee                                                                                                 $15,000.00

                                                                                                                	  Sub-­‐Total:   $59,937.50

Current	  Total	  Due
                                                                                                                                   $59,937.50
Payment	  Instructions

Wire	  Payment	  to:
ABA/Routing	  #	  (Wire	  or	  ACH):	  	  
Account#:	  	  
Account	  Name:	  	  Kinsella	  Media,	  LLC
Reference	  #:	  
Bank:	  	  
Bank	  Contact:	  	  Mayra	  Landeros	  -­‐	  214.987.8817
Federal	  Tax	  ID:	  	  


Or	  Overnight	  Payment	  to:
SourceHOV
Attn:	  Lockbox	  9065
615	  Freeport	  Parkway
Coppell,	  TX	  75019
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                  KM	  Employee                           Date                                                              Description                                                                   Hours   Hourly	  Rate     Total
       Shannon	  Wheatman:	  President                  11/11/15                                     Review	  HESI/TO	  settlement	  agreements.                                                       4.5      $500.00        $2,250.00
        Elaine	  Pang:	  Media	  Supervisor            11/12/15                                     Review	  HESI/TO	  settlement	  agreements.                                                      0.25      $250.00         $62.50
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   11/13/15                              Intake	  meeting	  to	  discuss	  initial	  case	  information.                                        1       $200.00        $200.00
        Elaine	  Pang:	  Media	  Supervisor            11/13/15                                         Request	  media	  rates	  from	  vendors.                                                    0.5      $250.00        $125.00
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   11/16/15                                     Review	  HESI/TO	  settlement	  agreements.                                                        1       $200.00        $200.00
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   11/17/15                                     Review	  HESI/TO	  settlement	  agreements.                                                        1       $200.00        $200.00
       Shannon	  Wheatman:	  President                  11/20/15       Review	  GCG's	  chart	  comparing	  HESI/TO	  settlements	  and	  previous	  BP	  settlement.                           0.75      $500.00        $375.00
        Elaine	  Pang:	  Media	  Supervisor            11/29/15                                              Put	  together	  media	  options.                                                         1       $250.00        $250.00
                                                                      Review	  geographic	  breakdown	  of	  claims.	  Analyze	  data	  for	  coastal,	  wetlands,	  seafood,	  
       Shannon	  Wheatman:	  President                  12/2/15                                                                                                                                            3       $500.00        $1,500.00
                                                                                                  subsistence,	  vessel	  and	  charterboat.
        Elaine	  Pang:	  Media	  Supervisor            12/3/15                                             Review	  GCG	  data	  on	  claimants.                                                     0.5      $250.00        $125.00
       Shannon	  Wheatman:	  President                  12/8/15                                               Review	  HESI/TO	  complaints.                                                           1.75      $500.00        $875.00
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   12/8/15                                               Review	  HESI/TO	  complaints.                                                             1       $200.00        $200.00
                                                                       Review	  initial	  media	  recommendations	  from	  Media	  Supervisor.	  Suggest	  changes	  to	  
       Shannon	  Wheatman:	  President                  12/14/15                                                                                                                                          0.5      $500.00        $250.00
                                                                                                                    plan.
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   12/14/15                  Internal	  meeting	  to	  discuss	  media	  options	  and	  recommendations.                                     0.5      $200.00        $100.00
        Elaine	  Pang:	  Media	  Supervisor            12/14/15                               Meeting	  with	  the	  team	  to	  go	  over	  media	  options.                                    0.5      $250.00        $125.00
        Elaine	  Pang:	  Media	  Supervisor            12/17/15                                                 Go	  over	  media	  rationale.                                                       0.25      $250.00         $62.50
                                                                     Review	  alternative	  media	  options	  form	  Media	  Supervisor	  and	  suggest	  changes	  to	  plan.	  
       Shannon	  Wheatman:	  President                  12/29/15                                                                                                                                         2.25      $500.00        $1,125.00
                                                                                   Revise	  geographic	  analysis	  based	  on	  new	  data	  provided	  by	  GCG.
        Elaine	  Pang:	  Media	  Supervisor            12/30/15                                                    Edit	  media	  program.                                                            0.25      $250.00         $62.50
         Katherine	  Kinsella:	  Founder                12/31/15                  Call	  with	  PSC	  and	  Mike	  Juneau	  to	  discuss	  scope	  of	  media	  program.                      0.75      $550.00        $412.50
       Shannon	  Wheatman:	  President                  12/31/15                  Call	  with	  PSC	  and	  Mike	  Juneau	  to	  discuss	  scope	  of	  media	  program.                      0.75      $500.00        $375.00
                                                                        Talk	  with	  GCG	  about	  mailing	  list	  data.	  Request	  additional	  mailing	  lists	  for	  excluded	  
       Shannon	  Wheatman:	  President                   1/4/16                                                                                                                                           0.5      $500.00        $250.00
                                                                                                                                groups.
        Elaine	  Pang:	  Media	  Supervisor             1/4/16                                            Request	  previous	  BP	  documents.                                                       0.25      $250.00         $62.50
        Elaine	  Pang:	  Media	  Supervisor             1/5/16                                           Develop	  list	  of	  questionsf	  or	  client.                                           0.25      $250.00         $62.50
        Elaine	  Pang:	  Media	  Supervisor             1/7/16                                Gather	  additional	  media	  research	  (newspapers).                                                0.25      $250.00         $62.50
Sali	  Hama:	  Senior	  Notice	  Program	  Manager    1/8/16                                     Research	  mailing	  lists	  for	  excluded	  classes.                                           0.5      $200.00        $100.00
         Katherine	  Kinsella:	  Founder                1/11/16                                   Analysis	  of	  geographic	  breakdown	  of	  claims.                                               1       $550.00        $550.00
       Shannon	  Wheatman:	  President                  1/11/16                         Further	  revise	  analysis	  of	  geographic	  breakdown	  of	  claims.                                  1.25      $500.00        $625.00
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   1/12/16                            Review	  email	  from	  GCG	  on	  mailing	  lists	  and	  class	  data.                              0.5      $200.00        $100.00
       Shannon	  Wheatman:	  President                  1/13/16                                                  Begin	  drafting	  LF	  Notice.                                                       3.5      $500.00        $1,750.00
        Elaine	  Pang:	  Media	  Supervisor            1/13/16                                       Edit	  media	  program	  recommendations.                                                        0.5      $250.00        $125.00
                                                                      Provide	  direction	  to	  Media	  Supervisor	  on	  media	  recommendations.	  Continue	  drafting	  
       Shannon	  Wheatman:	  President                  1/15/16                                                                                                                                          4.75      $500.00        $2,375.00
                                                                                                                       LF	  Notice.
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   1/19/16                     Review	  media	  recommendation	  (newspapers)	  and	  draft	  memo.                                            0.5      $200.00        $100.00
                                                                     Review	  mailing	  list	  data	  from	  GCG	  on	  excluded	  groups.	  Ask	  for	  removal	  of	  branches	  for	  
       Shannon	  Wheatman:	  President                  1/19/16                                                                                                                                           0.5      $500.00        $250.00
                                                                                                                    insurance	  and	  banking.
                                                                          Review	  Media	  Supervisor's	  media	  recommendations.	  Review	  public	  service	  
         Katherine	  Kinsella:	  Founder                1/20/16                                                                                                                                            2       $550.00        $1,100.00
                                                                                                                announcement	  information.
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   1/21/16                        Continue	  to	  draft	  memo	  on	  recommended	  notice	  program.                                          4       $200.00        $800.00
                                                                            Review	  revised	  mailing	  list	  data	  from	  GCG.	  Begin	  drafting	  summary	  notice	  for	  
       Shannon	  Wheatman:	  President                  1/21/16                                                                                                                                           6.5      $500.00        $3,250.00
                                                                                                 publication.	  Finalize	  initial	  draft	  of	  LF	  Notice.
                                                                            Continue	  to	  draft	  memo.	  Talk	  with	  earned	  media	  vendor	  about	  pubic	  service	  
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   1/22/16                                                                                                                                            3       $200.00        $600.00
                                                                                                         announcement	  recommendations.
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   1/25/16                                 Edit	  memo	  with	  recommended	  media	  program.                                                   2       $200.00        $400.00
        Elaine	  Pang:	  Media	  Supervisor            1/25/16                                                            Edit	  memo.                                                                 0.25      $250.00         $62.50
         Katherine	  Kinsella:	  Founder                1/26/16                              Edit	  draft	  memo	  on	  recommended	  notice	  program.                                              2       $550.00        $1,100.00
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   1/26/16                     Work	  with	  Media	  Supervisor	  on	  memo	  recommendations/edits.                                            3       $200.00        $600.00
        Elaine	  Pang:	  Media	  Supervisor            1/26/16                                        Review	  memo	  and	  provide	  comments.                                                     0.25      $250.00         $62.50
        Elaine	  Pang:	  Media	  Supervisor            1/26/16                                           Put	  media	  program	  into	  database.                                                    0.5      $250.00        $125.00
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   1/28/16      Create	  and	  compile	  media	  estimate	  (earned	  media	  and	  outreach,	  production	  costs).                        2       $200.00        $400.00
        Elaine	  Pang:	  Media	  Supervisor            1/28/16                                  Research	  public	  service	  announcemnt	  options.                                                0.25      $250.00         $62.50
                                                                         Review	  media	  estimate.	  Finalize	  drafts	  of	  memo,	  LF,	  and	  summary	  notices.	  Email	  
       Shannon	  Wheatman:	  President                  1/29/16                                                                                                                                            7       $500.00        $3,500.00
                                                                                                   documents	  to	  PSC	  and	  Mike	  Juneau.
       Shannon	  Wheatman:	  President                   2/2/16                           Review	  and	  respond	  to	  PSC	  comments	  on	  draft	  notices.                                   0.25      $500.00        $125.00
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       Shannon	  Wheatman:	  President                  2/4/16                                         Draft	  postcard	  notice	  for	  Old	  Class.                                         2.5    $500.00   $1,250.00
       Shannon	  Wheatman:	  President                  2/5/16      Finalize	  postcard	  draft	  and	  send	  to	  PSC,	  Halliburton,	  Transocean	  and	  Mike	  Juneau.             1.25   $500.00    $625.00
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   2/10/16                 Preparation	  for	  meeting.	  Review	  HESI/TO	  settlement	  agreements.                                    2     $200.00    $400.00
                                                                    Review	  GCG	  edits	  to	  LF	  Notice.	  Prepare	  for	  meeting	  with	  PSC,	  Halliburton,	  Transocean	  
       Shannon	  Wheatman:	  President                  2/15/16                                                                                                                                    5.25   $500.00   $2,625.00
                                                                                                     and	  Mike	  Juneau.	  Travel	  to	  New	  Orleans.
       Shannon	  Wheatman:	  President                  2/16/16          Meet	  with	  PSC,	  Halliburton,	  Transocean	  and	  Mike	  Juneau.	  on	  draft	  notices.                   1.5    $500.00    $750.00
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   2/16/16           Meet	  with	  PSC,	  Halliburton,	  Transocean	  and	  Mike	  Juneau	  on	  draft	  notices.                   1.5    $200.00    $300.00
       Shannon	  Wheatman:	  President                  2/17/16                       Revise	  LF	  Notice	  based	  on	  client	  comments.	  Travel	  home.                               8     $500.00   $4,000.00
       Shannon	  Wheatman:	  President                  2/18/16                                            Continue	  to	  revise	  LF	  Notice.                                                6     $500.00   $3,000.00
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   2/18/16                       Draft	  and	  send	  meeting	  notes	  to	  SW	  for	  revised	  LF	  notice.                      0.5    $200.00    $100.00
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   2/21/16                           Review	  and	  provide	  feedback	  on	  updated	  LF	  notice.                                    1     $200.00    $200.00
                                                                    Finalize	  revisions	  to	  LF	  Notice	  and	  circulate	  to	  PSC,	  Halliburton,	  Transocean	  and	  Mike	  
       Shannon	  Wheatman:	  President                  2/22/16                                                                                                                                    5.5    $500.00   $2,750.00
                                                                                                                               Juneau.
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   2/24/16                Review	  newspapers	  recommendations	  and	  mailing	  lists	  for	  memo.                                  0.25   $200.00    $50.00
Sali	  Hama:	  Senior	  Notice	  Program	  Manager   2/24/16                      Finalize	  memo	  with	  media	  recommendations	  and	  exhibits.                                       3     $200.00    $600.00
                                                                    Call	  with	  Mike	  Juneau	  and	  GCG	  to	  discuss	  settlements	  and	  notice	  program.	  Email	  PSC	  
       Shannon	  Wheatman:	  President                  2/24/16                                                                                                                                     1     $500.00    $500.00
                                                                                                                      update	  on	  the	  call.
        Elaine	  Pang:	  Media	  Supervisor            2/29/16                                                 Revise	  media	  program.                                                        1.25   $250.00    $312.50

                                                                                                                                                                                                            Total:    $44,937.50
